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                                          U.S. Department of Justice
[Type text]
                                                   United States Attorney
                                                   Southern District of New York
                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007


                                                   March 9, 2021

BY ECF

The Honorable Andrew L. Carter, Jr.
United States District Court Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:    United States v. Ronald Romano, 20 Cr. 585 (ALC)

Dear Judge Carter:

       The Government respectfully writes, with the consent of the above-referenced defendant’s
counsel, to request an adjournment of the status conference, currently scheduled for March 15,
2021, at 10:00 a.m. During the next few weeks, the Government anticipates production to the
defense of additional discovery consisting primarily of a large volume of email and electronic
correspondence. Accordingly, the parties request a forty-five day adjournment of the status
conference. The Government further requests, with the consent of the defendant’s attorney, Mark
Macron, Esq., that time be prospectively excluded under the Speedy Trial Act, 18 U.S.C. §
3161(h)(7)(A), until the date of the next conference. The exclusion of time will enable the
Government to complete the production of discovery and the defense time to review that discovery
and consider possible motion practice.

                                                   Respectfully submitted,

                                                   AUDREY STRAUSS
                                                   United States Attorney for the
                                                   Southern District of New York


                                               By: __________________________
                                                   Nicholas W. Chiuchiolo
                                                   Timothy V. Capozzi
                                                   Assistant United States Attorneys
                                                   (212) 637-1247 / 2404


cc: Mark Macron, Esq.
